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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

In re:                                                      Case No. 14-01427
         Phillip Lillard

                     Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 01/17/2014.

         2) The plan was confirmed on 03/20/2014.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
09/01/2016.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 01/10/2019.

         6) Number of months from filing to last payment: 57.

         7) Number of months case was pending: 61.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

         Total paid by or on behalf of the debtor                      $17,828.00
         Less amount refunded to debtor                                    $11.11

NET RECEIPTS:                                                                                             $17,816.89


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                          $3,500.00
    Court Costs                                                                        $0.00
    Trustee Expenses & Compensation                                                  $747.95
    Other                                                                              $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                           $4,247.95

Attorney fees paid and disclosed by debtor:                           $500.00


Scheduled Creditors:
Creditor                                                Claim         Claim            Claim        Principal      Int.
Name                                         Class    Scheduled      Asserted         Allowed         Paid         Paid
CITY OF CALUMET CITY                      Unsecured      1,012.00       4,752.50         4,752.50      4,417.74        0.00
CREDITORS DISCOUNT & AUDIT                Unsecured         277.00           NA               NA            0.00       0.00
DEBT RECOVERY SOLUTION                    Unsecured         394.00        394.68           394.68        361.79        0.00
ENHANCED RECOVERY CO L                    Unsecured      1,549.00            NA               NA            0.00       0.00
ER Solutions/Convergent Outsourcing, IN   Unsecured      1,841.00            NA               NA            0.00       0.00
GENESIS BANKCARD SERVICES                 Unsecured      1,786.00       2,091.66         2,091.66      1,944.33        0.00
ILLINOIS BELL TELEPHONE CO                Unsecured            NA         109.92           109.92          87.74       0.00
Illinois Secretary of State               Unsecured         670.00           NA               NA            0.00       0.00
MCSI INC                                  Unsecured         750.00           NA               NA            0.00       0.00
MCSI INC                                  Unsecured         500.00           NA               NA            0.00       0.00
MCSI INC                                  Unsecured         500.00           NA               NA            0.00       0.00
MCSI INC                                  Unsecured         250.00           NA               NA            0.00       0.00
MCSI INC                                  Unsecured          75.00           NA               NA            0.00       0.00
MCSI INC                                  Unsecured          75.00           NA               NA            0.00       0.00
MRSI                                      Unsecured         505.00           NA               NA            0.00       0.00
MUNICIPAL COLLECTIONS OF AMER             Unsecured         250.00           NA               NA            0.00       0.00
MUNICIPAL COLLECTIONS OF AMER             Unsecured         250.00           NA               NA            0.00       0.00
NCO FINANCIAL SYSTEM                      Unsecured         556.00           NA               NA            0.00       0.00
PEOPLES GAS LIGHT & COKE CO               Unsecured           0.00      1,549.47         1,236.93      1,236.93        0.00
SALLIE MAE                                Unsecured         294.00           NA               NA            0.00       0.00
SALLIE MAE                                Unsecured         956.00           NA               NA            0.00       0.00
SALLIE MAE                                Unsecured      2,359.00            NA               NA            0.00       0.00
SALLIE MAE                                Unsecured      3,883.00            NA               NA            0.00       0.00
SALLIE MAE                                Unsecured      3,921.00            NA               NA            0.00       0.00
SALLIE MAE                                Unsecured      4,986.00            NA               NA            0.00       0.00
SALLIE MAE                                Unsecured           0.00           NA               NA            0.00       0.00
SPRINT NEXTEL                             Unsecured         838.00      2,679.67         2,679.67      2,490.92        0.00
THE BUREAUS INC                           Unsecured         231.00           NA               NA            0.00       0.00
US DEPT OF ED NAVIENT SOLUTIONS           Unsecured      5,097.00     22,392.82        22,392.82            0.00       0.00
US Dept of Education                      Unsecured           0.00           NA               NA            0.00       0.00
VILLAGE OF DOLTON                         Unsecured      1,000.00       1,250.00         1,250.00      1,161.96        0.00



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Scheduled Creditors:
Creditor                                     Claim         Claim         Claim        Principal      Int.
Name                              Class    Scheduled      Asserted      Allowed         Paid         Paid
VILLAGE OF EAST HAZEL CREST    Unsecured            NA         250.00        250.00        229.17        0.00
VILLAGE OF LANSING             Unsecured         750.00      1,762.50      1,762.50      1,638.36        0.00


Summary of Disbursements to Creditors:
                                                            Claim           Principal               Interest
                                                          Allowed               Paid                   Paid
Secured Payments:
      Mortgage Ongoing                                      $0.00                $0.00               $0.00
      Mortgage Arrearage                                    $0.00                $0.00               $0.00
      Debt Secured by Vehicle                               $0.00                $0.00               $0.00
      All Other Secured                                     $0.00                $0.00               $0.00
TOTAL SECURED:                                              $0.00                $0.00               $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                           $0.00                $0.00               $0.00
       Domestic Support Ongoing                             $0.00                $0.00               $0.00
       All Other Priority                                   $0.00                $0.00               $0.00
TOTAL PRIORITY:                                             $0.00                $0.00               $0.00

GENERAL UNSECURED PAYMENTS:                           $36,920.68         $13,568.94                  $0.00


Disbursements:

       Expenses of Administration                           $4,247.95
       Disbursements to Creditors                          $13,568.94

TOTAL DISBURSEMENTS :                                                                      $17,816.89




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 02/11/2019                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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